IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF TENNESSEE

WINCHESTER DIVISION
JESSE ANTHONY ROBERTS, )
Plaintiff/Counter-Defendant §
vs. § File No.4:08-cv-39
AMCO INSURANCE § JURY DEMAND
CoMPANY )
Defendant/Counter-Plaintiff §

AGREED ORDER OF DISMISSAL WITH PREJUDICE
As evidenced by signatures of counsel below, all matters between the parties have been
compromised and settled and each party bears their own discretionary costs.
IT IS, THEREFORE, ORDERED

That this cause is dismissed as to all claims with full prejudice.

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SUSAN K. LEE
APPROVED FOR ENTRY= UNITED STATES MAGISTRATE JUDGE

/s/ Ml`chael D. Galli£an

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